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                                                     September 24, 2020

VIA ECF ONLY

Gina M. Colletti
Clerk of Court
United States District Court
362 U.S. Courthouse
517 E. Wisconsin Ave.
Milwaukee, WI 53202

        Re:      Weaver v. Champion Petfoods USA Inc., No. 2:18-cv-01996-JPS (E.D. Wis.)

Dear Clerk of Court:

     My name is David Coulson, and I represent Defendants Champion Petfoods USA Inc. and
Champion Petfoods LP in connection with the above-captioned matter.

        The Parties understand that pursuant to the Clerk’s August 3, 2020 Notice, Defendants’
Bill of Costs is currently stayed pending Plaintiff’s appeal in the United States Seventh Circuit of
Appeals.

        However, the Parties recently conferred and agreed that Defendants will withdraw their
Bill of Costs filed in this matter [ECF No. 190].

        Thank you for your assistance.

                                                     Sincerely,

                                                     GREENBERG TRAURIG, P.A.


                                                     David A. Coulson


CC: All Counsel of Record via ECF/CM




          Case 2:18-cv-01996-JPS Filed 09/25/20 Page 1 of 1 Document 194
